UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JENNIFER S. FISCHMAN,

                          Plaintiff,                          Index No. 18-cv-08188 (JMF)

                 v.
                                                              DECLARATION OF
                                                              MERCEDES COLWIN
MITSUBISHI CHEMICAL HOLDINGS
AMERICA, INC.; MITSUBISHI CHEMICAL
CORPORATION; MITSUBISHI CHEMICAL
HOLDINGS CORPORATION; NICHOLAS
OLIVA, in his individual and professional
capacities; DONNA COSTA, in her individual
and professional capacities; and JOHN DOES
1-10, in their individual and professional
capacities,

                           Defendants.
---------------------------------------------------------X

        Mercedes Colwin, of full age, hereby submits the following Declaration pursuant to 28

U.S.C. § 1746.

        1.       I am a partner with the law firm of Gordon Rees Scully Mansukhani, LLP. I am

responsible for the defense of this action, and possess personal knowledge regarding the within

matter. I make this Declaration in support of Defendants’ Motion for Sanctions, dismissing

Plaintiff’s lawsuit in its entirety, and awarding Defendants such other and further relief as the Court

deems just and proper.

        2.       Attached hereto as Exhibit A is a true and accurate copy of a handwritten note

dated March 16, 2016 produced by Plaintiff Jennifer Fischman as part of a supplemental

production of documents produced on June 25, 2021.

        3.       Attached hereto as Exhibit B is a true and accurate copy of pages 117-118 of the

transcript of the deposition of Plaintiff Jennifer Fischman taking place on June 15, 2021.
       4.      Attached hereto as Exhibit C is a true and accurate copy of pages 281-286 of the

transcript of the deposition of Plaintiff Jennifer Fischman taking place on June 28, 2021.

       5.      Attached hereto as Exhibit D is a true and accurate copy of the Expert Report of

Gerald M. LaPorte, B. Sc., B. Comm., M.S.F.S. addressed to Ms. Brittany Primavera on August

4, 2021.

       6.      Attached hereto as Exhibit E is a true and accurate copy of a letter from Gordon

Rees Scully Mansukhani, LLP addressed to Matthew Berman, Robert J. Valli, Jr., and Sarah Kane

of Valli, Kane & Vagnini, LLP dated August 4, 2021.

       I certify under penalty of perjury that the foregoing is true and correct.


                                              GORDON REES SCULLY MANSUKHANI, LLP



                                              /s/ Mercedes Colwin
                                              Mercedes Colwin, Esq.


Dated: October 22, 2021
       New York, New York
